
PER CURIAM.
Defendant, who was adjudicated a delinquent child, appeals from his sentence. Defendant was placed under community control for an indefinite time to be not less than six months. Defendant was also ordered to pay restitution in an amount to be determined by an HRS counselor.
The period of community control should have been no greater than the maximum term of incarceration which an adult could serve for the offense or when defendant reaches age nineteen, whichever is sooner. See G.W.M. v. State, 391 So.2d 738 (Fla. 4th DCA 1980). Also, the responsibility for determining the amount of restitution should not have been so delegated. See J.J.S. v. State, 465 So.2d 621 (Fla. 2d DCA 1985).
We therefore reverse and remand for resentencing.
RYDER, C.J., and SCHOONOVER and LEHAN, JJ., concur.
